        Case 1:21-cr-00118-RCL Document 80-1 Filed 07/30/21 Page 1 of 4




                                                        U.S. Department of Justice

                                                        Channing Phillips
                                                        Acting United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530

                                                      July 30, 2021



 Susan Roland                                       Greg Smith
 Federal Public Defender for DC                     Law Offices of Gregory Smith
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 Counsel for Eric Munchel



BY EMAIL

       Re:      United States v. Eric Munchel and Lisa Eisenhart
                Case No. 21-cr-118
                Volume 4 of Informal Discovery

Dear Counsel:

       Please find enclosed a USAFx file entitled “Volume 4 (Informal) – July 30, 2021”
containing Volume 4 of Informal Discovery, which includes the following 88 files:

Folder: Fast Track Volume 2 (Informal) (74 files)

       Please note, all the materials in this folder are in the process of being formally produced
       with Bates numbers and load files.

       This folder includes additional FBI reports and FBI TIES Reports (61 files) largely
       relating to public tips that were submitted to the FBI. Please note that we are in the
          Case 1:21-cr-00118-RCL Document 80-1 Filed 07/30/21 Page 2 of 4




        process of obtaining the media objects that are summarized in each of these TIES reports.
        These objects will be produced in Bates numbered and load ready files in the third
        volume of Fast Track discovery. If there are specific objects that you would like me to
        obtain prior to the third volume of Fast Track discovery, please advise me and I will
        endeavor obtain the specific item prior to the full production of all objects and to produce
        it in informal discovery.

        This folder also includes the following videos:

        Highly Sensitive (8 videos)
        8 videos from U.S. Capitol Police and the Senate Floor

        Sensitive (5 videos):
        4 BWC videos1 from inside of the U.S. Capitol
        1 video entitled “Inside the 2021 Storming of the United States Capitol”

Folder: Seized Videos (Other Investigations)

        This file includes videos that were seized during the course of other investigations and
        which I have determined may include footage of the above-named defendants.

        These files will also be provided in Bates numbered and load ready files in the third
        volume of Fast Track discovery.

        Sensitive (14 videos):
        14 videos seized in the course of two other investigations of January 6 defendants2

Prior production of 12 Body Worn Camera videos from January 5, 2021

        On June 22, 2021, Ms. Roland requested the BWC footage from the January 5, 2021
MPD encounter with Mr. Munchel. On June 28, 2021 and June 29, 2021, I sent you download
links from evidence.com containing links to download 12 BWC videos from the January 5, 2021
MPD encounter with Mr. Munchel. Additionally, those 12 BWC videos will be contained in the
third Fast Track discovery production.




1
  The BWC videos are lengthy. I have reviewed the videos and identified Mr. Munchel and Mrs. Eisenhart
descending down an adjacent stairwell at approximately 14:48 in each of the videos.
2
  Please note that based on my review of these videos, the above-mentioned defendants do not appear in all of these
videos. However, out of an abundance of caution, if one of the above-mentioned defendants appeared in a video
seized from a separate defendant, I have included all seized videos from that particular defendant, regardless of
whether one of the above-mentioned defendants appeared in the video.
                                                         2
        Case 1:21-cr-00118-RCL Document 80-1 Filed 07/30/21 Page 3 of 4




Summary of Prior Productions

       For your convenience, I am summarizing the prior discovery productions in this matter:

              Production                       Date                  Number of Items
 Production of Detention Appeal           March 3, 2021       12 items
 Materials
 Informal Discovery Volume 1              March 4, 2021       40 items seized from Mr.
                                                              Munchel’s cell phone
 Informal Discovery Volume 2              March 9, 2021       147 search warrant photos
 Image of Munchel’s cell phone            March 29, 2021      1 image of cell phone seized from
 (offered to both counsel and provided                        Mr. Munchel
 to Federal Defenders Office)
 Informal Discovery Volume 3              April 7, 2021       73 items
 Fast Track Discovery Volume 1            May 24, 2021        5,461 items
 Viewing Letter                           July 13, 2021       Regarding 42 physical items
 Informal Discovery Volume 4              July 30, 2021       88 items
 Fast Track Discovery Volume 2            In Production       Approximately 74 items
 Fast Track Discovery Volume 3            TBD                 Will include January 5, 2021
                                                              BWC, TIES media objects, and
                                                              comprehensive TIES reports

     The materials are provided to you pursuant to the protective order entered in this case,
ECF No. 68.

         I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes
to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. I also request that
defendant(s) disclose prior statements of any witnesses defendant(s) intends to call to testify at
any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.



                                                3
        Case 1:21-cr-00118-RCL Document 80-1 Filed 07/30/21 Page 4 of 4




        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
within the time period required by the Rules or allowed by the Court for the filing of any pretrial
motions.

       I will forward additional discovery as it becomes available. As always, if you have any
questions, please feel free to contact me.


                                                     Sincerely,


                                                     /s/ Leslie A. Goemaat
                                                     Leslie A. Goemaat
                                                     Assistant United States Attorney
                                                     202-803-1608

Enclosure(s)

Cc: Shirley Lewis, Federal Defender’s Office
    Justin Sher, DOJ, National Security Section




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